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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :       Crim. No. 21-cr-00032 (DLF)
                                           :
              v.                           :
                                           :
GUY WESLEY REFFITT,                        :
                                           :
                     Defendant.            :

    GOVERNMENT’S MOTION FOR ONE-WEEK EXTENSION TO RESPOND TO
                 NOVEMBER 19, 2021 MINUTE ORDER

       On November 19, 2021, the Court issued a minute order directing the government to

provide certain responses concerning the 18 U.S.C. § 1512(c)(2) charge in the Indictment by

November 29, 2021. The government respectfully requests a one-week extension to respond to

the minute order, until December 6, 2021, because the substance of the government’s response

requires review within the Department of Justice that cannot be accommodated within the 10-day

timeframe, which includes the Thanksgiving holiday. The defense consents to this extension

request.

                                           Respectfully submitted,

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                                        By:_______________________________________
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